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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  MASS ENGINEERED DESIGN, INC.,                       §
  And JERRY MOSCOVITCH,                               §
                                                      §
            Plaintiffs, Counter - defendants,         §
            Cross-claimants,                          §     CASE NO. 2:06 CV 272
                                                      §     PATENT CASE
  vs.                                                 §
                                                      §
  ERGOTRON, INC., et. al.,                            §
                                                      §
            Defendants, Counterclaimants              §
                                                      §
  and                                                 §
                                                      §
  DELL MARKETING L.P.,                                §
                                                      §
           Intervenor - Defendant,                    §
           Counterclaimant                            §
                                                      §

                            MEMORANDUM OPINION AND ORDER

           Before the Court is Ergotron Inc.’s Second Motion to Compel Discovery (Docket No. 366).

 Having considered the parties’ written submissions and oral arguments, the Court GRANTS the

 motion in part.

                                          BACKGROUND

           Jerry Moscovitch (“Moscovitch”) and Mass Engineered Design, Inc. (“Mass”) filed this

 action on July 7, 2006 seeking damages against Ergotron, Inc. (“Ergotron”) and several other

 companies for alleged infringement of U.S. patent number RE 36,978 (“‘978 patent”). Moscovitch

 is Mass’s principle and the inventor listed on the ‘978 patent. Mass is the exclusive licensee to the

 patent.

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          In early 1996, Moscovitch retained Mirek Waraksa, a Canadian attorney and U.S. patent

 agent, to prosecute patents in both the U.S. and Canada for “Dual Display Systems.” Waraksa filed

 a U.S. patent application on April 26, 1996, and U.S. patent number 5,687,939 (“‘939 patent”) issued

 on November 18, 1997. Shortly after the ‘939 patent issued, Moscovitch discovered that several key

 features of his invention were not included within the scope of the ‘939 patent application.

 Thereafter Moscovitch sought additional counsel and his relationship with Waraksa quickly

 degraded. Through other counsel, Moscovtich sought reissue of the ‘939 patent in order to better

 represent the original scope of his invention. The ‘939 patent was subsequently reissued as the ‘978

 patent on December 5, 2000.

          After this litigation was commenced Ergotron sought to compel discovery for certain

 confidential communications between Moscovitch and Waraksa that had been disclosed to the U.S.

 patent office in connection with the reissue application. Ergotron argued that privilege had been

 waived1 as to these communications because they were no longer confidential. On March 19, 2008

 this Court granted Ergotron’s motion to compel and held that privilege was waived as to “all issues

 relating to claim scope believed available” up to the date of the reissue.

          After the March 19th order, Ergotron noticed Waraksa’s deposition. In response, Mass

 immediately sent a letter to Waraksa warning him not to speak to Ergotron without the presence of

 Mass’s counsel. Ergotron’s Motion Ex. 6. The letter cautioned Waraksa that Mass would “inform[]

 the appropriate authorities” for any ex parte communications Waraksa had with Ergotron where


          1
            It is significant that Ergotron’s first Motion to Compel assumed that privilege existed between Moscovitch
 and W araksa while it argues in this Motion that no privilege existed at all. Ergotron attempts to explain this
 discrepancy by arguing that it only recently became aware that W araksa was not a U.S. attorney. However, Ergotron
 was at least on inquiry notice that W araksa was not a U.S. attorney as early as December 5, 2007 when Moscovitch
 filed a declaration with this Court proclaiming that W araksa was registered as a non-resident patent agent.

                                                          2
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 privileged information was revealed. Id. Mass then sent a letter to Waraksa instructing him that,

 under Canadian law, he was unable to attend the scheduled deposition without express instructions

 by a Canadian court or by Mass. After a meet-and-confer with Ergotron, Mass granted permission

 for Waraksa to attend the deposition. During the deposition Mass’s counsel repeatedly instructed

 Waraksa not to answer questions concerning communications he had with Moscovitch about the

 possibility of Waraksa filing a divisional application for certain features not included within the ‘939

 patent.

           Ergotron now seeks to compel discovery of unredacted copies of several documents all

 submitted by Mass for in camera inspection. Ergotron further requests all documents relating to a

 potential negligence action against Waraksa and moves for sanctions against Mass for Mass’s

 conduct before and during Waraksa’s deposition. For the reasons set forth below, Ergotron’s motion

 to compel is GRANTED in part, and its motion for sanctions is DENIED.

                               APPLICABLE LAW AND ANALYSIS

           Ergotron requests eleven classes of documents (In camera Exs. A-K) arguing that a) they are

 not privileged for various reasons or b) privilege has already been deemed waived by this Court’s

 March 19th order. Each of these documents and Ergotron’s corresponding arguments will be

 addressed in turn.

 Privileged Communications to Waraksa

           Ergotron requests a letter from Waraksa to Moscovitch concerning the ‘939 patent (In

 Camera Ex. B) arguing that no communications between Waraksa and Moscovitch are privileged

 because, at the time of the communication, Waraksa was not licenced to practice law in the U.S.

           Since jurisdiction in this case is based on a federal question under 28 U.S.C. § 1338(a),


                                                    3
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 federal common law governs any assertions of privilege. FED . R. EVID . 501. As this Court has

 recently articulated, attorney-client privilege will apply to a communication only if: (1) the asserted

 holder of the privilege is or sought to become a client; (2) the person to whom the communication

 was made (a) is a member of the bar of a court, or his subordinate and (b) in connection with this

 communication is acting as a lawyer; (3) the communication relates to a fact of which the attorney

 was informed (a) by his client (b) without the presence of strangers (c) for the purpose of securing

 primarily either (i) an opinion on law or (ii) legal services or (iii) assistance in some legal

 proceeding, and not (d) for the purpose of committing a crime or tort; and (4) the privilege has been

 (a) claimed and (b) not waived by the client. ReedHycalog UK, Ltd. v. Baker Hughes Oilfield

 Operations Inc., 251 F.R.D. 238, 243-44 (E.D. Tex. March 27, 2008) (Davis, J.) (citing Myers v.

 City of Highland Village, 212 F.R.D. 324, 326 (E.D.Tex.2003) (Davis, J.)).

         The application of the privilege in a particular case is a fact sensitive inquiry and addressed

 on a case-by-case basis. Upjohn Co. v. U.S., 449 U.S. 383, 396-97 (1981). In all cases, the privilege

 will be applied in light of the applicable principles of common law tempered with both reason and

 experience. Id. (quoting FED . R. EVID . 501). The attorney-client privilege is rooted in the unique

 relationship between a lawyer and her client. Id. at 390. The long-recognized purpose of protecting

 this class of information is to facilitate full and complete communication between attorney and

 client. Id. at 389. Therefore, when analyzing the privilege a client’s expectations concerning

 confidentiality will often play a strong role in its application. Id. at 393 (“[T]he attorney and client

 must be able to predict with some degree of certainty whether particular discussions will be

 protected. An uncertain privilege, or one which purports to be certain but results in widely varying

 applications by the courts, is little better than no privilege at all.”).


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          Here, Waraksa was employed for his unique dual-role as both Canadian attorney and U.S.

 patent agent for the purposes of securing similar patents in both the U.S. and Canada. Ergotron

 argues that, for the purposes of prosecuting a U.S. patent, communications between Moscovitch and

 Waraksa were merely intended to be communications between a client and a U.S. patent agent. Mass

 urges that, for all cases, foreign lawyers are “attorneys” for the purposes of asserting privilege in the

 U.S. Neither of these arguments provides a comprehensive account of the relationship between

 Moscovitch and Waraksa.

          Moscovitch is a Canadian citizen. At the time of the communications at issue here, he and

 Waraksa had an ongoing relationship whereby Waraksa would prosecute patents for Moscovitch’s

 inventions in both countries. During the hearing, Ergotron’s counsel explained that Waraksa’s

 correspondence letterhead names him as both a Canadian attorney and a U.S. patent agent. As a

 Canadian attorney, Waraksa was held to similar standards of loyalty and confidentiality that apply

 to U.S. attorneys.2        Blank v. Canada (Department of Justice), 2 S.C.R. 319 (Can. 2007).3

 Moscovitch relied on that duty on the several occasions that Waraksa was engaged to prosecute his

 bi-national patents. These facts lead only to the conclusion that Waraksa’s role as attorney and

 patent agent was inseverable within the contours of his relationship with Moscovitch and Mass.



          2
            Mass has filed an opinion letter from a Canadian law firm, in camera, in order to establish the scope of the
 Canadian “solicitor-client privilege.” The Court is satisfied that W araksa was bound by the privilege as a Canadian
 attorney during all relevant communications with Mass and Moscovitch and that W araksa was under a Canadian duty
 not to disclosed privileged information except upon request of his client or by order of a Canadian court.

          3
            “[The solicitor-client privilege] recognizes that the justice system depends for its vitality on full, free and
 frank communication between those who need legal advice and those who are best able to provide it. Society has
 entrusted to lawyers the task of advancing their clients' cases with the skill and expertise available only to those who
 are trained in the law. They alone can discharge these duties effectively, but only if those who depend on them for
 counsel may consult with them in confidence. The resulting confidential relationship between solicitor and client is a
 necessary and essential condition of the effective administration of justice.”

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          Ergotron narrowly focuses on Waraksa’s knowledge that he was filing a U.S. patent

 application and that any information solicited from Moscovitch was for that purpose. However, the

 vast majority of these communications were instructive, not only for the U.S. patent process, but for

 the Canadian patent process as well. Additionally, all of these communications were privileged in

 Canada. Ergotron would require Waraksa and Moscovitch to have parceled their communications

 into those relevant to only U.S. patents and those relevant to Canadian patents, with no account for

 communications with dual applicability. The uncertainty inherent in Ergotron’s framework

 eviscerates the purpose of the privilege and would require guesswork and endless speculation on the

 part of both foreign attorney and client. To apply the privilege in this manner, after the fact, would

 serve only an injustice contrary to the reason and experience of the Court. See SmithKline Beecham

 Corp. v. Apotex Corp, No. 98 C 3952, 2000 WL 1310668 at *3 (N.D. Ill. September 13, 2000)

 (reasoning that blindly denying privilege to foreign patent agents “without reference to either the

 function they serve in their native system or the expectations created under their local law” would

 “vitiate the principles of comity and predictability of the privilege”).4

          Conversely, Mass’s formulation is overly broad. Certainly not every communication between

 any client and foreign attorney will be entitled to the privilege in U.S. courts. To the contrary, a

 client cannot reasonably expect that any foreign legal professional advising on U.S. law will trigger

 the privilege because they are neither licensed in the U.S. nor are they necessarily held to the same

 standards of confidentiality and loyalty as U.S. attorneys. However, because Waraksa, as a Canadian


          4
            W hile the Court recognizes the split in authority among the district courts over the applicability of the
 privilege to domestic patent agents and foreign legal professionals, because of the unique circumstances in this case
 the Court finds no occasion to adopt a “test” to govern either of these categories. These cases are cited not for the
 frameworks they adopted, but rather for their reasoning that is both compelling and instructive when confronted with
 these unique facts.

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 attorney, had a clear duty of confidentiality and was licensed to prosecute patents in the U.S., it was

 entirely reasonable for Moscovitch and Mass to assume that their communications would be

 privileged. Therefore, none of the traditional rationales for limiting the privilege as it applies to

 foreign legal practitioners and patent attorneys are inherent in the Waraksa-Moscovitch relationship.

 See, e.g., Status Time Corp. v. Sharp Electronics Corp., 95 F.R.D. 27, 33 (D.C.N.Y. 1982) (holding

 foreign patent agents were not entitled to the privilege “because the necessity for ‘unrestricted and

 unbounded confidence’ between a client and his attorney which justifies the uniquely restrictive

 attorney-client privilege simply does not exist . . .”); Agfa Corp. v. Creo Prods., Inc., No. 00-10836-

 GAO, 2002 WL 1787534 at *2 (D. Mass. August 1, 2002) (holding that extending the privilege to

 non-lawyer professionals ignores “the special role that lawyers have, by dint of their qualifications

 and license, to give legal advice”)

        For these reasons, the privilege extends to communications between Moscovitch and

 Waraksa as a matter of both comity and out of a necessity for the privilege to align with clients’

 reasonable expectations concerning the confidentiality of their communications with counsel. Rice

 v. Honeywell Intern., Inc, No. 6:05cv330, 2007 WL 865687 at *2 (E.D. Tex. 2007) (Love, J.) (citing

 In re Auclair, 961 F.2d 65, 70 (5th Cir.1992)) (holding that privileged communications are made

 “under circumstances so that the communication was reasonably expected and understood to be

 confidential”).

 Communications Between Co-counsel

        Ergotron next requests two documents representing communications between various

 attorneys Mass retained subsequent to Waraksa (In camera Exs. E, G). Ergotron argues that

 documents transmitted between attorneys from the same firm or attorneys from different firms


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 representing Mass are not covered by attorney-client privilege. Ergotron cites no authority for this

 proposition.

          To the contrary, both communications within a firm and among firms representing the same

 client are protected by the attorney-client privilege to the extent that they are prepared from

 confidential information from the client. See Natta v. Zletz, 418 F.2d 633, 637 n.3 (7th Cir. 1969)

 (“[I]nsofar as inter-attorney communications or an attorney's notes contain information which would

 otherwise be privileged as communications to him from a client, that information should be entitled

 to the same degree of protection from disclosure. To hold otherwise merely penalizes those attorneys

 who write or consult with additional counsel representing the same client for the same purpose. As

 such it would make a mockery of both the privilege and the realities of current legal assistance.”);

 SmithKline Beecham Corp. v. Apotex Corp., 232 F.R.D. 467, 481 (E.D. Pa. 2005); Burlington Indus.

 v. Exxon Corp., 65 F.R.D. 26, 36 (D. Md. 1974). But see In re D. H. Overmyer Telecasting Co., Inc.,

 470 F. Supp. 1250, 1255 (D.C.N.Y. 1979) (holding co-counsel communication not privileged when

 they are not a product of communications between a client and her attorney). The documents

 requested by Ergotron are all prepared from information obtained from Mass or Moscovitch. The

 attorney-client privilege applies to all redacted portions.

 Scope of the Court’s March 19, 2008 Waiver Order

          Ergotron next requests several documents that constitute communications between Mass and

 its various attorneys5 (In camera Exs. A, C, D, F, H, I, J). Ergotron argues with respect to these

          5
           Several of these documents are draft documents circulated between Mass and its attorneys. Ergotron
 mischaracterizes many of the documents as communications with their intended final recipient, rather than
 communications between Mass and its attorneys. In fact, at the hearing Ergotron argued, for the first time, that draft
 documents are per se unprivileged because they are not intended to be confidential. To the contrary, all draft
 documents confidentially communicated to an attorney for the purposes of revision are privileged. See Macario v.
 Pratt & Whitney Canada, Inc., No. 90-3906, 1991 W L 6117 at *1 (E.D. Pa. 1991).

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 documents and, exhibits B and E addressed above, that even if the documents are privileged, many

 of the redacted portions fell within the this Court’s March 19, 2008 order.6 The scope of that waiver

 was held to be all “issues relating to claim scope believed available” by Moscovitch and Mass up

 to December 5, 2000. Mass Engineered Design, Inc. v. Ergotron, Inc., 206 CV 272, 2008 WL

 744705 at *1-2 (E.D. Tex. March 19, 2008) (Davis, J.). After reviewing the documents in camera,

 most of the redacted portions do not fall under the scope of the Court’s waiver Order. However,

 there are exceptions which are noted on Appendix A to this opinion. Those portions, noted on

 Exhibit A, fall within the Court’s previous waiver Order and must be produced.

 Attorney Invoices

         Ergotron requests four separate invoices from Waraksa and one invoice from Mass’s

 subsequent attorneys at Miller Thomson (In camera Ex. K). Ergotron argues that attorney invoices

 are not covered by the attorney-client or work product privileges. It is true that attorney invoices are

 usually not within the scope of the attorney-client privilege. In re Grand Jury Subpeona, 926 F.2d

 1423, 1431 (5th Cir. 1991).           However, when confidential communications are inextricably

 intertwined with billing information, then that information remains privileged. Id. However, while

 the content of an attorney-client communication is privileged, the fact that the communication

 occurred is not. See ReedHycalog, 251 F.R.D. at 244 (Davis, J.). Therefore, any invoice information

 that falls within the scope of the privilege must contain more than the fact of a communication and

 reveal the communication’s topic or content.


         6
             Several of the documents at issue were documented on Mass’s privilege log prior to the January 28, 2008
 hearing on Ergotron’s First Motion to Compel. However, these documents only appeared on Mass’s updated
 privilege log on January 24, 2008, two business days before the hearing. Therefore, the log was not produced with
 sufficient time for Ergotron to review the documents and include them in their First Motion to Compel. Accordingly,
 the Court reviews the applicability of the March 19 waiver as to all the documents.

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        After in camera inspection of the invoices, none of the Waraksa invoices contain either the

 topic or content of confidential communications. Therefore, the remainder of those invoices must

 be produced without redaction. The August 21, 2008 invoice from Miller Thomson contains many

 instances where the topic and content of communications with Mass are revealed. Therefore, much

 of the document is privileged. However, the invoice is prepared using headings announcing the

 general topics of the individualized entries. Some of these headings are redacted, others are not. In

 many instances when the headings are read together with the individualized entries, the document

 clearly contains privileged information. Where the headings are redacted, the individualized entries

 are privileged insofar as they reference–and are read together with–the readacted topic headings.

 Where the topic headings are unredacted, only those individualized entries that contain privileged

 information above and beyond the topic headings remain privileged. Therefore, where Mass

 revealed the topic headings, it cannot complain that the individualized entries, when read alone,

 contain privileged information. Accordingly, on pages one and two, the headings are revealed and

 therefore, the following redacted portions do not contain privileged content and must be produced:

 on page one, the entirety of the entry for 05/08/98, and the first entry for 03/16/98; on page two, the

 entirety of the entries for 04/21/98, 04/28/98, 05/15/98, 07/07/98 and the second entry for 06/03/98.

 The headings on pages three and four are redacted and thus, when these pages are read together, they

 contain privileged information and may remain redacted. The heading on page 5 is unredacted,

 however several of the individual entries contain summaries of actual conversations with Mass.

 These entries remain privileged, however the entirety of the entries for 03/02/98, 03/03/98, and

 03/04/98 do not contain any privileged communication and must be produced without redaction.

 Waraksa Negligence Documents


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        Ergotron requests dozens of documents related to a potential negligence action against

 Waraksa. They argue that since the Court’s March 19 order required disclosure of a single document

 from Waraksa to Mass detailing “conversations that occurred during the ‘939 patent application

 process,” that all documents related to the negligence action fall under the privilege waiver. Mass

 has assured the Court, both in its briefs and several times during the hearing, that all documents

 related to the March 19 waiver have been produced. Mass further asserts that the documents that

 Ergotron now requests are communications between Mass and its attorneys in anticipation of

 litigation, and therefore, constitute attorney work product. The very nature of the these documents

 supports Mass. Additionally, Ergotron has advanced no argument concerning how the remainder

 of these documents have any inherent relation to the one document expressly covered by the March

 19 order, nor have they identified any documents they are requesting specifically. Based on these

 deficiencies, Ergotron’s request for these documents is denied. See FED . R. CIV . PROC. 26(b)(1),

 26(b)(3)(A), 34(b)(1)(A).

 Sanctions

        Finally, Ergotron moves for sanctions for Mass’ alleged “threatening” conduct. Rule

 30(b)(2) gives courts discretion to impose sanctions for “imped[ing], delay[ing], or frustrat[ing] the

 fair examination of [a] deponent.” Ergotron argues that the several “threatening” letters Mass sent

 to Waraksa along with the several occasions during Waraksa’s deposition where he was instructed

 not to answer constituted sanctionable conduct.

        Mass’s conduct does not warrant any sanction.           As has been previously discussed,

 communications between Mass and Waraksa were privileged. Further, Waraksa was under a duty

 not to disclose the privileged information without consent from his former client or a Canadian court.


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 Counsel for Mass were entirely within their rights, let alone their duty, to protect the privileged

 information known by Waraksa. See FED . R. CIV . PROC. 30(d)(2).

        Waraksa’s relationship with Mass has become strained in the years since his representation

 of Mass and over the course of this litigation. This has led to Waraksa’s increasing tendency to

 identify more with Ergotron during this litigation. For example, Waraksa invited Ergotron’s

 attorneys to his apartment to discuss his deposition testimony without the presence of Mass’s counsel

 and was paid by Ergotron for the time spent in his deposition. See Mass’s Response to Ergotron’s

 Motion to Compel Ex. 2 at 118-19; Ex. 11-13; Ex. 14; Ex. 15. Specifically, Ergotron complains that

 Mass impeded its deposition of Waraksa concerning discussions with Moscovitch over a possible

 divisional application. See Mass’s Response Ex. 12. It is troublesome that despite this Court’s clear

 declaration that privileged communications concerning any possible divisional application was not

 within the scope of the March 19 privilege waiver Order, Mass, 2008 WL 744705 at *2 n.1 (Davis,

 J.), Ergotron continued to elicit, both directly and indirectly, information concerning these

 discussions. See Mass’s Response Ex. 12. The Court reminds Ergotron of its ethical duty to respect

 the legal rights and privileges of its adversaries while conducting discovery. See MODEL RULES OF

 PROF’L CONDUCT R. 3.4(c); 4.4(a); 8.4(c). Ergotron’s request for sanctions is denied.

                                          CONCLUSION

        For the aforementioned reasons, the Court GRANTS Ergotron’s Motion to Compel and

 ORDERS Mass to produce those portions of in camera exhibits A-J specified in Appendix A to this

 opinion as well as those portions of in camera exhibit K specified above without redaction. The

 Court DENIES Ergotron’s motion with respect to documents relating to a possible negligence action

 against Waraksa. The Court further DENIES Ergotron’s motion for sanctions.


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        So ORDERED and SIGNED this 14th day of October, 2008.




                          __________________________________
                          LEONARD DAVIS
                          UNITED STATES DISTRICT JUDGE




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                                              Appendix A


  Exhibit Letter      Portions Where Privilege is Waived                         Reasoning
        A          First Document: Paragraphs 2, and the first      All of these relate to claim scope
                   two sentences of paragraph 5.                    believed available. Though a
                                                                    separate divisional application may
                   Second Document: Paragraph 2, and the            have been sought for these features,
                   first two sentences of paragraph 5.              these paragraphs do not discuss the
                                                                    divisional application.
        B          In the third paragraph: “The two                 Falls under claim scope believed
                   approaches . . . broad integrating claim.”       available.
        C          In the second paragraph: “From previous          Falls under claim scope believed
                   work . . .approximately 22°-28°.”                available.
                   In the fourth paragraph: “The feature . . .
                   for installation.”
        D          In the fourth paragraph: “From previous          Falls under claim scope believed
                   work . . . of approximately 22°-28°.”            available.
                   In the fourth paragraph: “The feature of . . .
                   and for installation.”
        E          In the second paragraph: “In reviewing the       Falls under claim scope believed
                   sole . . . the screens selective positioning     available.
                   means.”

                   All of the third paragraph from “In
                   reviewing the . . . terminal-peripheral unit-
                   display.”
        F                  None                                     No portion falls under claim scope
                                                                    believed available.
        G                  None                                     No portion falls under claim scope
                                                                    believed available.
        H                  None                                     No portion falls under claim scope
                                                                    believed available.
        I                  None                                     No portion falls under claim scope
                                                                    believed available.
        J                  None                                     No portion falls under claim scope
                                                                    believed available.




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